         Case 3:94-cr-05074-RJB       Document 777       Filed 07/30/07    Page 1 of 3




 1
 2
 3
 4
 5
 6
 7                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 8                                 AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                 Plaintiff,    )             CASE NO.       CR94-5074-RJB
                                 )
12         v.                    )
                                 )
13                               )             DETENTION ORDER
    JEFFERY JAY WARREN,          )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17          Count 1: Conspiracy to Import Hashish, in violation of Title 21, U.S.C., Section
18          812;
19          Count 2: Conspiracy to Distribute Hashish, in violation of Title 21, U.S.C. Section
20          812;
21          Count 3: Conspiracy to Engage in Money Laundering, in violation of Title18,
22          U.S.C., Sections 1956(a)(1)(A)(I), 1956(a)(1)(B)(I), and 1956(a)(1)(B)(ii);
23          Counts 4-17: Money Laundering, in violation of Title 18, U.S.C., Sections
24          1956(a)(1)(A)(I) and 2;
25          Counts 18-20: Interstate Travel in Aid of Racketeering, in violation of Title 18,
26          U.S.C., Sections 1956(a)(1)(B)(I) and 2;

     DETENTION ORDER
     PAGE -1-
           Case 3:94-cr-05074-RJB       Document 777       Filed 07/30/07    Page 2 of 3




 1            Counts 21-31: Money Laundering, in violation of Title 18, U.S.C., Sections
 2            1956(a)(1)(B)(I), 3237, and 2; and
 3            Criminal Forfeiture (3Counts), in violation of Title 21, U.S.C., Sections 952,
 4            960(a), 960(b)(1), and 963.
 5 Date of Detention Hearing: July 26, 2007
 6            The Court, having conducted a contested detention hearing pursuant to Title 18
 7 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
 8 hereafter set forth, finds that no condition or combination of conditions which the defendant
 9 can meet will reasonably assure the appearance of the defendant as required and the safety
10 of any other person and the community. The Government was represented by Sarah Vogel
11 for Lawrence Linclon. The defendant was represented by Laurence B. Finegold.
12        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
13            (1)    There is probable cause to believe the defendant committed the drug
14                   offenses. The maximum penalty is in excess of ten years. There is
15                   therefore a rebuttable presumption against the defendant’s release based
16                   upon both dangerousness and flight risk, under Title 18 U.S.C. §
17                   3142(e).
18            (2)    The defendant was not interviewed by Pretrial Services.
19            (3)    The defendant is associated with seven alias names and has ties to
20                   Mexico.
21            (4)    Defendant stipulates to detention at this time.
22 Based upon the foregoing information which is also consistent with the recommendation
23 of detention by U.S. Pre-trial Services, it appears that there is no condition or
24 combination of conditions that would reasonably assure future Court appearances and/or
25 the safety of other persons or the community.
26            It is therefore ORDERED:

     DETENTION ORDER
     PAGE -2-
         Case 3:94-cr-05074-RJB     Document 777       Filed 07/30/07    Page 3 of 3




 1         (l)   The defendant shall be detained pending trial and committed to the
 2               custody of the Attorney General for confinement in a correction facility
 3               separate, to the extent practicable, from persons awaiting or serving
 4               sentences or being held in custody pending appeal;
 5         (2)   The defendant shall be afforded reasonable opportunity for private
 6               consultation with counsel;
 7         (3)   On order of a court of the United States or on request of an attorney for
 8               the Government, the person in charge of the corrections facility in which
 9               the defendant is confined shall deliver the defendant to a United States
10               Marshal for the purpose of an appearance in connection with a court
11               proceeding; and
12         (4)   The clerk shall direct copies of this order to counsel for the United
13               States, to counsel for the defendant, to the United States Marshal, and to
14               the United States Pretrial Services Officer.
15         DATED this 30th day of July, 2007.



                                                    A
16
17
18                                                  MONICA J. BENTON
19                                                  United States Magistrate Judge

20
21
22
23
24
25
26


     DETENTION ORDER
     PAGE -3-
